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UNITED STATES DISTRICT COURT                   evidence, rulings adverse to a party, nor
SOUTHERN DISTRICT OF GEORGIA                   friction between the court and counsel
    STATESBORO DIVISION                        constitute pervasive bias.” Id.

KYLE MICHAEL BREWER,                               Brewer points to no intervening change
                                               in the law, no new evidence, and no clear
Movant,                                        error of law. See Doc. 61. Brewer alleges
                                               no extrajudicial source of bias; instead,
v.                    6:00-cv-140              Brewer founds his motion upon erroneous
                                               court practice. See Doc. 54 at 4 (identifying
UNITED STATES OF AMERICA,
                                               “illegal raffle procedure” as foundation for
Respondent.                                    claim of bias). Brewer’s motion to recuse
                                               has no factual basis whatsoever. See Doc.
                 ORDER                         54. Accordingly, Brewer’s motion for
    Movant Kyle Michael Brewer                 reconsideration is DENIED.
(“Brewer”) first moves this Court to               Brewer also appeals this Court’s denial
reconsider its January 24, 2012 Order          of another motion to reconsider in this case.
denying his motion to recuse. See Doc. 61;     See Doc. 63; see also Docs. 53; 60. The
see also Doc. 57.                              Court construes Brewer’s notice of appeal as
    “Reconsideration of a previous order is    a request for a Certificate of Appealability
an extraordinary remedy to be employed         (“COA”). See Edwards v. United States,
sparingly.” Groover v. Michelin N. Am.,        114 F.3d 1083, 1084 (11th Cir. 1997).
Inc., 90 F. Supp. 2d 1236, 1256 (M.D. Ala.         “Before an appeal may be entertained, a
2000). It is appropriate “only if the movant   prisoner who was denied habeas relief in the
demonstrates that there has been an            district court must first seek and obtain a
intervening change in the law, that new        COA . . . .” Miller-El v. Cockrell, 537 U.S.
evidence has been discovered which was not     322, 335-36 (2003); see 28 U.S.C.
previously available to the parties in the     § 2253(c). The Court will issue a COA
exercise of due diligence, or that the court   “where a petitioner has made a substantial
made a clear error of law.” McCoy v.           showing of the denial of a constitutional
Macon Water Auth., 966 F. Supp. 1209,          right.” Miller-El, 537 U.S. at 336 (internal
1222-23 (M.D. Ga. 1997).                       quotations omitted); see also 28 U.S.C.
   “The general rule is that bias sufficient   § 2253(c)(2). Brewer “must show that
to disqualify a judge must stem from           reasonable jurists could debate whether (or,
extrajudicial sources . . . and must be        for that matter, agree that) the petition
focused against a party to the proceeding.”    should have been resolved in a different
Hamm v. Members of the Bd. of Regents of       manner or that the issues presented were
the State of Fla., 708 F.2d 647, 651 (11th     adequate to deserve encouragement to
Cir. 1983) (internal citation omitted).        proceed further.” Id. (internal quotations
“Neither a trial judge's comments on lack of   omitted).
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   When the district court denies a                  debate whether Brewer delayed too long by
   habeas petition on procedural                     waiting eleven years from the date this
   grounds without reaching the                      Court adopted the R&R to file his motion.
   prisoner's underlying constitutional              Accordingly, Brewer’s implied motion for a
   claim, a COA should issue when the                COA is DENIED.
   prisoner shows, at least, that jurists                Finally, Brewer moves for in forma
   of reason would find it debatable                 pauperis (“IFP”) status on appeal. See Doc.
   whether the petition states a valid               64.
   claim of the denial of a constitutional
   right and that jurists of reason would                 “An appeal may not be taken [IFP] if the
   find it debatable whether the district            trial court certifies in writing that it is not
   court was correct in its procedural               taken in good faith.”             28 U.S.C.
   ruling.                                           § 1915(a)(3). Good faith means that an issue
                                                     exists on appeal that is not frivolous when
Slack v. McDaniel, 529 U.S. 473, 484                 judged under an objective standard. See
(2000) (emphasis added).
                                                     Coppedge v. United States, 369 U.S. 438,
     Brewer filed a Federal Rule of Civil            445 (1962); Busch v. Cnty. of Volusia, 189
Procedure 60(b)(6) motion for relief from            F.R.D. 687, 691 (M.D. Fla. 1999). A claim
this Court’s adoption of the Magistrate              is frivolous if it is “without arguable merit
Judge’s Report and Recommendation                    either in law or fact.” Bilal v. Driver, 251
(“R&R”) to dismiss Brewer’s § 2255                   F.3d 1346, 1349 (11th Cir. 2001).
motion. See Doc. 53. That motion alleged                Brewer’s claims are frivolous and his
that this Court violated Clisby v. Jones by          appeal is not taken in good faith. His
failing to address and resolve all of Brewer’s       motion is DENIED.
habeas claims. See Doc. 53 at 2; see also
960 F.2d 925 (11th Cir. 1992). This Court                            CONCLUSION
denied his motion, reasoning that the R&R               Brewer’s motion for reconsideration, see
“recognized Brewer’s five grounds for relief         Doc. 61; see also United States v.
and recommended dismissal of all of them             Summersett, No. 6:96-cr-4, Doc. 975 (S.D.
as either procedurally barred or inadequately        Ga. Jan. 24, 2012), is DENIED.
pled.” Doc. 60 at 2-3.
                                                         Brewer’s “Motion to Hold Rulings on
     The Court also denied Brewer’s motion           Petitioner’s Motion Filed Under Fed. R. Civ.
because Brewer unreasonably delayed in               P. Rule 60(b)(6) in Abeyance Until After
filing it. See id. at 3.                             Resolution of Motion to Recuse,” see Doc.
    Reasonable jurists could not debate              62; see also Summersett, No. 6:96-cr-4, Doc.
whether the Court failed to address all of           979, is DENIED.
Brewer’s habeas claims by adopting the                  Brewer’s implied motion for a COA, see
R&R. See Doc. 2 (analyzing all of Brewer’s           Doc. 63; see also Summersett, No. 6:96-cr-4,
claims and recommending their dismissal).            Doc. 980, is DENIED.
Furthermore, no reasonable jurist could

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   Brewer’s Motion for IFP status on
appeal, see Doc. 64; see also Summers ett,
No. 6:96-cr-4, Doc. 981, is DENIED. The
Court assesses the full filing fee of $455.


This 21st day of February 2012.


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 B. AVANT EDENFEELO, iura
 UNiTED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF GEORGIA
